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5
     Attorney for Defendant
6    SHERRY TAGGART
7
                                IN THE UNITED STATES DISTRICT COURT
8
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                   )   Case No. 2:14-cr-099-KJM
                                                 )
11                          Plaintiff,           )   STIPULATED MOTION TO MODIFY
                                                 )   CONDITIONS OF RELEASE
12   vs.                                         )
                                                 )   Judge: Hon. Carolyn K. Delaney
13   SHERRY TAGGART,                             )
                                                 )
14                          Defendants.          )
                                                 )
15                                               )
16           Ms. Taggart was released from custody a couple of days following her arrest on April 4,
17   2014. She was released under pretrial supervision. She successfully completed her inpatient
18   drug treatment program, MRT and Better Choices. She has been living in the community for
19   months under pretrial supervision and currently has a state job. Ms. Taggart has complied with
20   the conditions of her release and there have been no petitions filed.
21           Ms. Taggart is requesting permission to fly to New York on or about April 29th to visit
22   with Ms. Antonucci for no longer than one week. Her pretrial services officer is aware of this
23   request and has no objections. The prosecutor in this case and co-defendant’s counsel have both
24   been consulted and also have no objections to this request.
25           The parties respectfully requests that the conditions of supervision be modified to allow
26   Sherry Taggart to travel to New York at the end of April for a visit of up to a week. The
27   defendant, Ms. Taggart, should provide travel information and contact information as directed by
28

      Motion to Modify Conditions                     -1-            U.S. v SHERRY TAGGART, 14cr099 KJM
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1    her pretrial services officer. All other conditions are to remain in full force and effect.
2    Dated: March 31, 2016
3                                                   HEATHER E. WILLIAMS
                                                    Federal Defender
4
5                                                   /s/ LINDA C. ALLISON
                                                    LINDA C. ALLISON
6                                                   Assistant Federal Defender
                                                    Attorney for Defendant
7                                                   SHERRY TAGGART
8
9    Dated: March 31, 2016                          Benjamin B. Wagner
                                                    United States Attorney
10
11
                                                    /s/ ANDRE ESPINOZA
12                                                  Assistant United States Attorney
13
14
                                                   ORDER
15
16             IT IS HEREBY ORDERED that conditions of supervision be modified to allow the
17   defendant Sherry Taggart to travel to New York at the end of April for a visit of up to a week.
18
     The defendant, Ms. Taggart, should provide travel information and contact information as
19
     directed by her pretrial services officer. All other conditions are to remain in full force and
20
     effect.
21
22   Dated: April 1, 2016
                                                       _____________________________________
23                                                     CAROLYN K. DELANEY
                                                       UNITED STATES MAGISTRATE JUDGE
24
25
26
27
28

      Motion to Modify Conditions                     -2-             U.S. v SHERRY TAGGART, 14cr099 KJM
